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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS




UNITED STATES OF AMERICA

               V.                              CRIMINAL NO. 04-30033-MAP

RAYMOND ASSELIN, JR


                 ORDER REGARDING REPORT AND RECOMMENDATION
                          CONCERNING PLEA OF GUILTY

                                      SEPTEMBER 20, 2006

PONSOR, D.J.

      Upon de novo review, the Report and Recommendation of Chief

Magistrate Judge Kenneth P. Neiman dated August 30, 2006 is hereby ADOPTED,

without objection. The plea is hereby accepted. The clerk is ordered to enter defendant’s

plea of guilty to Counts 3, 85, 86, 104 of the indictment into the records of the court as of

this date, and to issue a procedural order scheduling the defendant for sentencing.

      It is so ordered.



                                                       /s/Michael A.Ponsor
                                                      MICHAEL A. PONSOR
                                                      U.S. DISTRICT JUDGE
